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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BRIAN KAREM,


                Plaintiff,

      v.
                                                                 Case No. 1:19-cv-2514-KBJ
 DONALD J. TRUMP, in his individual capacity and
 official capacity as President of the United States; and
 STEPHANIE GRISHAM, in her individual capacity
 and official capacity as White House Press Secretary,

                 Defendants.


                                   JOINT STATUS REPORT

       The parties to the above-captioned action hereby provide this Joint Status Report

regarding developments occurring since their September 27, 2019 joint motion to stay this

action, Dkt. 37 (“Joint Stay Motion”), pending resolution of Defendants’ appeal of the Order

Granting Plaintiff’s Motion for a Preliminary Injunction, Dkt. 32 (“PI Order”). On October 25,

2019, the Court granted the joint stay of this action and directed the parties to submit this Joint

Status Report 30 days following the completion of appellate proceedings.

       On June 5, 2020, the United States Court of Appeals for the District of Columbia Circuit

entered its Judgment, filed in this action as Dkt. 42-1, affirming the PI Order but narrowing “its

scope” so that it would “run only to the Press Secretary” in her official capacity. The deadline

for the government to petition for a writ of certiorari has since expired.

       In response to the Court’s order, the parties met and conferred and report the following:

       First, in the Joint Stay Motion, the “parties . . . agreed that should Plaintiff prevail on

appeal . . . the Court may convert the preliminary injunction into a permanent injunction against
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the White House Press Secretary in her official capacity.” As such, the parties agree that the

Court may convert the Preliminary Injunction Order, which addressed the suspension of Mr.

Karem’s White House Hard Pass based on events at the White House on July 11, 2019, into a

permanent injunction against the White House Press Secretary in her official capacity. The

parties will submit a proposed judgment regarding the permanent injunction within thirty (30)

days of the filing of this joint status report for the Court’s consideration.

        Second, Plaintiff intends to withdraw Count 3, the Bivens claims stated against the

individual-capacity defendants. Plaintiff will file an appropriate notice or stipulation with the

Court to effect this withdrawal.

        Third, Plaintiff intends to move for an award of attorneys’ fees for this action with

respect to the claims against the official-capacity defendants. The parties are discussing whether

this issue can be settled without motion practice. Plaintiff reserves the right to bring a motion for

attorneys’ fees if agreement cannot be reached. The parties will notify the court in either event

within thirty (30) days of the filing of this Joint Status Report.

Dated: April 8, 2021                                    Respectfully submitted

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